Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.211 Page 1 of 18




                                                                          FILED IN THE
                                                                      U.S. DISTRICT COURT
                                                                EASTERN DISTRICT OF WASHINGTON



                                                                Nov 29, 2022
                                                                     SEAN F. MCAVOY, CLERK
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.212 Page 2 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.213 Page 3 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.214 Page 4 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.215 Page 5 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.216 Page 6 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.217 Page 7 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.218 Page 8 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.219 Page 9 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.220 Page 10 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.221 Page 11 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.222 Page 12 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.223 Page 13 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.224 Page 14 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.225 Page 15 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.226 Page 16 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.227 Page 17 of 18
Case 1:21-cr-02006-SAB   ECF No. 94   filed 11/29/22   PageID.228 Page 18 of 18
